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   JUDICIAL
 COURT OF
  PARIS


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FAMILY
COURT                                                      JUDGMENT
JAF section 2 cab 2
Case: PARIS v BROWN                                   Issued August 25, 2023

Nr. RG 23/37100 -
Portalis Nr.                                 Article 373-2-11 of the French Civil Code
352J-W-B7H-C2TQC

Record of judgment 1

                       PLAINTIFF:

                       Mr. Arnaud PARIS
                       13 RUE FERDINAND DUVAL
                       75004PAR1S

                       Appearing assisted by Mr. Terence RICHOUX attomey, #E0780


                       DEFENDANT:
                       Ms. Heidi BROWN
                       2256 ABBOTT AVENUE
                       97520 ASHLAND OREGON I ETATS-UNIS

                       Appearing assisted by Ms. Sandrine FARRUGIA, attorney, #G0423


                       FAMILY COURT JUDGE:
                       Gyslain DI CARO-DEBIZET


                       CLERK OF THE COURT:
                       Tifenn GUILLOTIN




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                            STATEMENT OF FACTS AND PROCEDURE

     The parties' relationship produced two children, twins, Juliette PARIS, born on January 15,
     2015 in Ashland in the United States, and Eva PARIS, born on January 15, 2015 in Ashland
     in the United States.

     By the decision of April 21, 2023, the family court judge organized the exercise of parental
     authority by the parents, establishing their residence in France at the father's home and
     providing visitation and accommodation rights for the mother during school holidays in
     addition to establishing a contribution to the maintenance of the children's education to be
     paid by the mother.

     Mr. PARIS has requested an emergency summons of Ms. BROWN. At the hearing, he
     requested an order banning the departure of the children from French soil without the
     consent of both parents and that the mother be granted visitation and accommodation rights
     under the same conditions as those provided for by the judgment of 21 April 2023, but
     remaining on French soil while doing so. The defendant opposes his petitions and requests
     that he be ordered to pay a fine of €3,000 under article 700 of the French Code of Civil
     Procedure.

     The decision was reserved for issuance on August 25, 2023.


                                   REASONS FOR THE DECISION

     Regarding the iurisdiction of the French judge and the applicable law

     It should be specified first that in his judgment of April 21, 2023, the family court judge
     declared himself competent and stated that French law was applicable. Reference is hereby
     made to that decision regarding this point.

     Regarding the request for a ban on departure from French soil without the agreement of
     both parents

     According to Article 835 of the French Code of Civil Procedure, the judge may prescribe in
     summary proceedings any precautionary or remedial measures that are necessary, either to
     prevent imminent harm or to put an end to a manifestly unlawful disturbance.

     Article 373-2-6 of the French Civil Code provides that the judge may take measures to
     guarantee the effective continuity of maintaining the child's ties with each of the parents. In
     particular, the judge can issue orders banning departure of the child from French soil without
     the authorization of both parents. This ban on leaving the country is recorded in the file of
     wanted persons maintained by the Public Prosecutor.

     In this case, the father has French and American nationality, as do the two children, while the
     mother has American nationality. It follows from the evidence presented in the proceedings
     that the defendant has clearly expressed her intent to not comply with the terms of the
     decision of April 21, 2023, relying on ongoing proceedings in the United States. This is what
     led her to write to the plaintiff "I am not going to accept a judgement from France or outer
     space until Oregon says that it's legitimate. " The plaintiff also obtained an administrative
     opposition to departure from French soil. These elements therefore raise the fear that once in
     the United States, Ms. BROWN will oppose the return of the children to France, which does
     not correspond to the best interests of the children and would constitute, given the proximity
     of the short school holidays, an imminent harm that must be prevented.

     Given these circumstances, the request for a ban on the departure of the children from French
     soil without the authorization of both parents is hereby granted.
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     The mother will continue to enjoy visitation and accommodation rights under the same
     conditions as those established by the judgment of April 21, 2023, but only on French soil in
     the absence of agreement between the two parents on this point. The father will pay half the
     cost of the mother's airplane tickets.


     Regarding the costs

     The parties will each retain their costs. Given the family nature of this dispute, there is no need
     to apply Article 700 of the French Code of Civil Procedure.


                                      FOR THESE REASONS


     The family court judge, issuing a ruling to be recorded in the registry, after hearing arguments
     in chambers, by judgment after trial and in the first instance,

     Declaring himself competent and citing the applicable French law, hereby

     Orders the ban on departure from French soil without the agreement of both parents of
     Juliette PARIS born on January 15, 2015 in Ashland in the United States and of Eva PARIS
     born on January 15, 2015 in Ashland in the United States and declares that this decision will
     be transmitted to the Public Prosecutor for inclusion in the children's section of the file of
     wanted persons,

     Declares that Ms. Heidi BROWN will have visitation and accommodation rights under the
     same conditions as those established by the judgment of April 21, 2023, namely during
     school holidays during the first half of the year in even years and during the second half in
     odd years, but only on French soil unless otherwise agreed by both parents,

     Declares that Mr. Arnaud PARIS will pay half the cost of the mother's airplane tickets as
     part of the exercise of her visitation and accommodation rights,

     Refers for the remaining details to the decision of April 21, 2023 in its provisions not to the
     contrary,

     Declares that the parties will each pay their own costs,

     Reminds the parties that the present decision is provisionally enforceable.



                          Issued in Paris on August 25, 2023

     Tifenn GUILLOTIN                                            Gyslain DI CARO-DEBIZET
     Clerk of the Court                                          Judge




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                                    Certification Statement

I, Robin Holding, residing at 948 Fifteenth Street, Suite 4, Santa Monica, California 90403-3134,
hereby declare that I am a professional French translator certified by the American Translators
Association since 1991 and that to the best of my knowledge and belief, the attached is a true
and correct English translation of the French original of the Judgment issued on August 25, 2023
by Family Court Judge Gyslain DI CARO-DEBIZET of the Judicial Court of Paris.




          Date                             Robin Holding, CT                         _/
                                           French-to-English translator, ce1'tified by
                                           the .l'.. merican Translators Association




                                               Verify al VNm.atanet.orglverily




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 TRIBUNAL
JUDICIAIRE
 DE PARIS


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A FF AIRES
FAMILIALES
                                                   JUGEMENT
JAF section 2 cab 2
                                               rendu le 25 Aout 2023
Affaire : PARIS /
BROWN                                      Article 373-2-11 du Code Civil
N° RG 23/37100 - N°
Portalis
352J-W-B7B-C2TQC

Minute 1
                      DEMANDEUR:
                      Monsieur Arnaud PARIS
                      13 RUE FERDINAND DUVAL
                      75004PARIS

                      Comparant assiste de Me Terence RICHOUX, Avocat, #E0780


                      DEFENDEUR:
                      Madame Heidi BROWN
                      2256 ABBOTT AVENUE
                      97520 ASHLAND OREGON/ ETATS-UNIS

                      Comparante assistee par Me Sandrine FARRUGIA, Avocat, #00423


                      JUGE AUX AFFAIRES FAMILIALES :

                      Gyslain DI CARO-DEBIZET


                      GREFFIER:

                      Tifenn GUILLOTIN




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                      EXPOSE DES FAITS ET DE LA PROCEDURE

    Des relations des parties sont issues deux enfants, jumelles, Juliette PARIS nee le 15
    janvi,er 2015 ~ Ashland aux Etats-Unis et Eva PARIS nee le 15 janvier 2015 aAshland
    aux Etats-Ums.

    Par decision du 21 avril 2023 le juge aux affaires familiales a organise l'exercice de
    l'autorite parentale par les parents en fixant leur residence en France au domicile patemel
    et en prevoyant un droit de visite et d'hebergement de la mere durant les vacances
    scolaires, outre la fixation d'une contribution al'entretien !'education des enfants due par
    la mere.

    Monsieur PARIS a assigne Madame BROWN en refere. A !'audience il sollicite
    !'interdiction de sortie du territoire franr;ais des enfants sans !'accord des deux parents
    et que la mere beneficie d'un droit de visite et d'hebergement dans les memes conditions
    que celles prevues par le jugement du 21 avril 2023, mais en demeurant sur le territoire
    franr;ais. La defenderesse s'oppose ases demandes et sollicite sa condamnation a3000€
    au titre de !'article 700 du code de procedure civile.

    La decision a ete mise en delibere pour etre rendue le 25 aout 2023.


                                 MOTIFS DE LA DECISION

    Sur la competence du iuge francais et sur la loi applicable

    II convient de preciser atitre preliminaire que le juge aux affaires familiales dans son
    jugement du 21 avril 2023 s'est declare competent et <lit que la loi franr;aise etait
    applicable. ll convient de se referer cette decision sur ce point.


    Sur la demanded 'interdiction de sortie du territoire sans l' accord des deux parents

    Selon l'article 835 du code de procedure civile, le juge peut prescrire en refere les
    mesures conservatoires ou de remise en etat qui s'imposent, soit pour prevenir un
    dommage imminent, soit pour faire cesser un trouble manifestement illicite.

    L'article 373-2-6 du Code civil dispose que le juge peut prendre les mesures permettant
    de garantir la continuite effectivite du maintien des liens de l'enfant avec chacun de ses
    parents. Il peut notamment ordonner !'interdiction de sortie de l'enfant du territoire
    franr;ais sans l'autorisation des deux parents. Cette interdiction de sortir du territoire et
    inscrit au fichier des personnes recherchees par le Procureur de la Republique.

    En l'espece le pere a la nationalite franr;aise et americaine, ainsi que les deux enfants,
    tandis que la mere ala nationalite americaine. Il resulte des elements verses aux debats
    que la defenderesse a clairement fait part de sa volonte de ne pas respecter les termes de
    la decision du 21 avril 2023 se prevalant de procedures en cours aux Etats-Unis. Celle-ci
    a ainsi pu ecrire au demandeur "je n 'accepterai un jugement de France ou de l'espace
    que si !'Oregon dit qu'il est valable ". Le demandeur a par ailleurs obtenu sur le plan
    administratifune opposition a sortie du territoire. Ces elements font des lors craindre
    qu'une fois sur le territoire americain, Madame BROWN s'oppose au retour des enfants
    en France, ce qui ne correspond pas a l'interet superieur des enfants et constituerait,
    compte tenu de la proximite des petites vacances scolaires, un dommage imminent qu'il
    convient de prevenir.

    Dans ces conditions il sera fait droit ala demande d'interdiction de sortie des enfants du
    territoire franr;ais sans l'autorisation des deux parents.


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     La mere continuera d'exercer un droit de visite et d'hebergement dans les memes
     conditions que celles posees par le jugement du 21 avril 2023, mais uniquement sur le
     territoire frarn;ais adefaut d'accord des deux parents sur ce point. Lepere prendra en
     charge la moitie du cout des billets d'avion de la mere.


     Sur les depens

     Chaque partie conservera ses depens. Compte tenu du caractere familial du present
     litige, il n'y a pas lieu de faire application de l'article 700 du code de procedure civile.


                                       PAR CES MOTIFS

     Le juge aux affaires familiales, statuant par mise a disposition au greffe, apres debats
     intervenus en chambre du conseil, par jugement contradictoire et en premier ressort,

     Se declarant competent et disant la loi fran9aise applicable,

     Ordonne !'interdiction de sortie du territoire fran9ais s~s l'accord des deux parents de
     Juliette PARIS nee le 15 janvier 2015, aAshland aux Etats-Unis et de Eva PARIS nee
     le 15 janvier 2015 a Ashland aux Etats-Unis et <lit que la presente decision sera
     transmise au Procureur de la Republique pour inscription au fichier des personnes
     recherchees des enfants,

     Dit que Madame Heidi BROWN disposera d'un droit de visite et d'hebergement dans
     les memes conditions que celles fixees par le jugement du 21 avril 2023 asavoir durant
     les vacances scolaires, la premiere moitie les annees paires et la seconde moitie les
     annees impaires, mais uniquement sur le territoire fran9ais sauf accord contraire des
     deux parents,

    Dit Monsieur Arnaud PARIS prendra en charge la moitie du cout des billets d'avion de
    la mere dans le cadre de l'exercice de son droit de visite et d'hebergement,

     Renvoie pour le reste ala decision du 21 avril 2023 en ses dispositions non contraires,

     Dit que chacun gardera la charge de ses propres depens,

     Rappelle que l'execution provisoire de la presente decision est de droit.


                                   Fait a Paris le 25 Aout 2023

    Tifenn GUILLOTIN                                        Gyslain DI CARO-DEBIZET
    Greffiere                                               Magistrat




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